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                             EXHIBIT 2
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                                               July 13, 2020


                                   REPORT OF GEORGE FORMAN


     I.     Professional Background and Experience, Publications, Prior Expert Testimony
            and Compensation.

            I am a member in good standing of the Bars of, and have practiced before, the Supreme
     Court of the State of California, the United States Supreme Court, the United States Court of
     Appeals for the Ninth, Seventh and District of Columbia Circuits, and the United States District
     Courts for the Northern, Eastern, Central and Southern Districts of California. I also have been
     admitted pro hac vice to practice before the United States District Courts for Western District of
     Washington, the Western District of Michigan and the District of Columbia.

            I received my Bachelor of Arts degree from the University of California at Berkeley in
     June, 1967, and my Juris Doctor degree from the University of California at Berkeley, formerly
     Boalt Hall, now Berkeley Law, in June, 1970. I was admitted to practice in California in
     January, 1971, and have practiced continuously since then.

              During the summer of 1969, I worked as a law clerk at the Escondido office of California
     Indian Legal Services (“CILS”), a program funded by the former federal Office of Economic
     Opportunity to provide legal services to indigent Indians, Indian tribes and Indian organizations
     unable to afford private legal counsel. Upon receiving my Juris Doctor degree, I was awarded a
     Reginald Heber Smith Community Lawyer Fellowship (“Reggie”) through the Office of
     Economic Opportunity’s Legal Services program, and was assigned to CILS, where I served as a
     staff attorney in the program’s Escondido office until I opened the CILS office in Ukiah,
     California, in 1973.

             While at the Escondido office of CILS, I filed and served as lead counsel in Rincon Band
     ofMission Indians v. County ofSan Diego, in which an allottee of the Rincon Indian Reservation
     asserted the right to operate a card room on his Reservation trust allotment despite a San Diego
     County ordinance prohibiting all forms of gambling in the unincorporated territory of San Diego
     County. The district court held that the County’s ordinance was a “law of the State” within the
     meaningofl8 U.S.C. §1162 (alongwith28 U.S.C. §1360,this statute commonlyisknownas




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    “Public Law 83-280” or simply as “P.L. 280” and thus was applicable to Indians in Indian
    country; on appeal, the U.S. Court of Appeals for the Ninth Circuit vacated the district court’s
    decision and ordered the case dismissed on the basis that there was not a sufficiently immediate
    threat of prosecution to constitute a live case or controversy.

            During my remaining tenure at CILS, which ended in 1985, I served variously as director
    of that program’s Indian land consolidation project, Executive Director, Litigation Director and
    director of the program’s untermination and recognition project. Among the cases for which I
    was directly responsible at CILS that would later have significance in the area of Indian gaming
    was Santa Rosa Band of Tachi Indians v. Kings County, 532 F.2d 655 (9th Cir. 1975), which
    established that a County ordinance is not a “law of the State” within the meaning of P.L. 280,
    that a County zoning ordinance constitutes an “encumbrance” on trust property within the
    meaning of P.L. 280 and that tribal governments have jurisdiction over their Reservation lands
    comparable to that of city or county governments, and thus that Kings County could not enforce
    its zoning ordinance to prevent Indians of the Santa Rosa Rancheria from living in BIA-funded
    mobile homes on the Rancheria although the Rancheria was not zoned for mobile homes. The
    United States Supreme Court cited this decision with approval in Bryan v. Itasca County, 426
    U.S. 373, 96 S.Ct. 2102, 48 L.Ed.2d 710 (1976).

            I have not published articles in law reviews or professional journals. However, over the
    course of my legal career, I have litigated numerous cases dealing with State jurisdiction over
    Indians in Indian country, tribal sovereign immunity, Indian Reservation reserved natural
    resource rights, reversing the unlawful termination of the status of tribes and individual Indians,
    federal liability for breach of trust obligations and, as an outgrowth ofjurisdictional and
    immunity issues, the right of tribal governments to operate gaming in Indian country
    notwithstanding state or local laws that otherwise would regulate or prevent such activity. The
    decisions in these cases, which have affected and improved the lives of tens of thousands of
    Indian people, are more meaningful to me than any articles I would have had to spend time
    writing. These cases have included Duncan v. Andrus., 517 F.Supp. 1 (N.D. Calif. 1977); People
    v. McCovey, 36 Cal.3d 517 (1984); Mattz v. Superior Court, 46 Cal.3d 355 (1988); Santa Rosa
    Band ofIndians v. Kings County, 532 F.2d 655 (9th Cir. 1976); Imperial Granite Co. v. Pala
    Band ofMission Indians, 940 F.2d 1269 (9th Cir. 1991); Boisclair v. Superior Court, 51 Cal.3d
    1140 (1990); Pan American Co. v. Sycuan Band ofMission Indians, 884 F.2d 416 (9th Cir.
    1989); Morongo Band ofMission Indians v. Rose, 34 F.3d 901(9th Cir. 1994); Sycuan Band of
    Mission Indians v. Roache, 54 F.3d 535 (9th Cir. 1994); Table Mountain Rancheria v. Andrus,
    (District Court, unpublished); Table BluffRancheria v. United States (District Court,
    unpublished); Big Sandy Association v. United States (District Court, unpublished); Upper Lake
    Porno Association v. United States (District Court, unpublished); Segundo v. Rancho Mirage
    City, 873 F.2d 1277 (9th Cir. 1989); Robinson Rancheria Citizens Council v. Borneo, Inc., 971
    F.2d 244 (9th Cir. 1992); Cabazon Band ofMission Indians v. Wilson, 37 F.3d 430 (9th Cir.
    1994); Segundo v. City ofRancho Mirage, et a!.

           In 1985, I left CILS and became an associate at the law firm of Alexander & Karshmer,
    where I worked until forming Forman & Prochaska in 1996. While at Alexander & Karshmer, I
    was co-counsel in Morongo Band ofMission Indians v. County ofRiverside in the district court,




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     the Court of Appeals for the Ninth Circuit (where the case was consolidated with Cabazon Band
     ofMission Indians v. County ofRiverside), and eventually the U.S. Supreme Court as California
     v. Cabazon and Morongo Bands ofMission Indians, in which the Supreme Court held that P.L.
     280 had not given California and other states jurisdiction to enforce their civil/regulatory laws
     against Indians in Indian country; that California’s gambling laws in general are civil/regulatory,
     rather than criminal/prohibitory, and thus could not be enforced against Indians in Indian
     country; and that federal and tribal interests in tribal self-government and economic self-
     determination outweighed California’s interest in preventing infiltration of tribal gaming by
     criminal elements, and thus that California was preempted by federal law and policy from
     enforcing its gambling laws to prevent tribal governments from operating or non-Indians from
     participating in high-stakes bingo and commercial card games operated by tribal governments.
     While litigating this case, I also participated in legislative efforts to codify the right of tribal
     governments to operate gaming for governmental purposes; these efforts culminated in Congress
     passing and President Reagan signing into law the Indian Gaming Regulatory Act of 1988
     (“IGRA”), 25 U.S.C. §2701, etseq.

              In 1990, I negotiated a Class III gaming compact between the Sycuan Band of Mission
     Indians (now known as the Sycuan Band of the Kumeyaay Nation) and the State of California
     that allows the Sycuan Band to operate a simulcast wagering facility (off-track betting, or
     “OTB”) on its Reservation lands. The first OTB compact in California indeed, the first IGRA
                                                                               —


     compact of any sort in California had been negotiated the previous year between the State and
                                       —


     the Cabazon Band, represented by Glenn Feldman. Subsequently, the Viejas, Barona and San
     Manuel Bands also entered into OTB compacts with the State. Pursuant to provisions in their
     respective OTB Compacts, the Cabazon and Sycuan Bands filed actions for declaratory relief on
     the question of whether the State’s license fee could be applied to wagers placed at tribal OTB
     facilities; the Barona and Viejas Bands later joined that litigation, and in Cabazon Band, et a!. v.
     Wilson, the United States Court of Appeals for the Ninth Circuit held that the State’s jurisdiction
     to collect that fee had been preempted by IGRA, and the State was required to refund those fees
     to the Tribes. Due to a provision unique to Sycuan’s OTB Compact, only Sycuan recovered not
     only the fees that the State had collected, but also interest on the collected fees. The same four
     tribes later prevailed against the State’s effort to terminate the tribes’ respective OTB operations
     based upon the tribes’ operation of electronic gaming equipment that the State considered to be a
     violation of the tribes’ compacts. Cabazon Band, et a!., v. Wilson II, 124 F.3d 1050 (9th Cir.
     1997).

            During the late 1980s and early 1990s, I was an adjunct professor at the University of
    California’s Hastings College of the Law in San Francisco, where I taught that school’s course in
    Federal Indian Law. I have been a presenter at two annual meetings of the California State Bar
    Association’s Environmental Law section, speaking on environmental laws applicable to Indian
    country and tribal government gaming. I have been a presenter at several meetings of the
    California State District Attorneys’ Association, speaking on the question ofjurisdiction in
    Indian country under Public Law 83-280. I also have been a presenter at several national and
    regional conferences on Indian gaming and economic development in Indian country, speaking
    on the future of Indian gaming and relevant legal issues, including on-line gaming. I have
    prepared written materials for the classes I have taught and presentations I have given, and those




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     materials have been disseminated among students or participants, including other lawyers and
     tribal leaders.

             During the mid-i 990s, I negotiated and/or litigated implementation of class III gaming
     Compacts and management agreements in Washington (Lummi Tribe) and Michigan (Little
     Traverse Bay Bands of Odawa). I also have negotiated several gaming management agreements,
     as well as implementing tribal decisions to terminate such agreements prior to their scheduled
     expiration.

             Beginning in 1992, I was a principal negotiator, along with several other attorneys, for a
     coalition of Tribes seeking class III gaming compacts from the State of California. Those
     negotiations broke down when, after agreeing to litigate the question of the scope of class III
     gaming for which IGRA obligated the State to negotiate,’ Governor Wilson professed shock that
     Tribes were operating games that he contended were unlawful, and the State broke off those
     negotiations.

             While Rumsey v. Wilson wound its way through the federal district and appellate courts,
     Tribes continued operating, while the U.S. Justice Department, responding to the Stat&s
     complaints, began pressuring Tribes to cease their activities. By then, tribal government gaming
     had become well established in California, employing thousands of Californians and greatly
     improving the lives of many California Indians. The Clinton Administration did not want to see
     a repeat of the confrontation that had occurred when federal authorities attempted to remove
     uncompacted slot machines from an Arizona Tribe’s casino, and the Wilson Administration also
     wanted to find a way to end the dispute.

             The result was that the State agreed to negotiate with a Tribe that was not then engaged in
     gaming. The gaming Tribes, including my clients, nominated the Pala Band to act as their
     surrogate, and designated several tribal attorneys, including me, to participate in the negotiations
     in addition to Pala’s attorney, with the understanding that the other Tribes would be kept
     informed about developments in the negotiations and would have input into the positions
     advanced by Pala.

            When Pala’s and the State’s attorneys imposed a veil of secrecy on the negotiations, even
    as to the other attorneys’ clients, I withdrew. The other attorneys soon followed, and in late 1997
    those negotiations ultimately resulted in announcement of a “model” compact with the Pala Band
    that the U.S. Justice Department and the State tried hard to coerce other Tribes to accept.

            The Wilson-Pala Compact was deemed so odious by all but a handful of California
    Tribes (also represented by Pala’s attorney) that some 80 Tribes decided to go directly to
    California’s voters for relief. I was deeply involved in that effort; indeed, Jerry Levine and I
    were the principal authors of what became Proposition 5 on the November, 1998 general election
    ballot, and during the course of the campaign, I frequently met with tribal leaders from

                That litigation, Rumsey Rancheria, et al., v. Wilson, consumed several years, during which the Tribes
    continued to operate what the State, and eventually the U.S. Justice Department, contended was uncompacted class
    III gaming.




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     throughout the State. Proposition 5 received about 64% of the vote, but was stayed by the
     California Supreme Court, and in August, 1999, all but one section was struck down as
     inconsistent with the California Constitution’s prohibition against casinos of the type currently
     operating in Nevada and New Jersey.

             Elected in November, 1998 with broad tribal support, and concerned about the adverse
     impacts on Indian country that would result if the California Supreme Court ultimately
     overturned Proposition 5, in March, 1999, Gov. Gray Davis invited all California Tribes to
     participate in negotiating a model compact as a hedge against a potential adverse Supreme Court
     ruling on Proposition 5. I was chosen to be part of the tribal negotiating team for the 80-member
     United Tribes Compact Steering Committee. Between March and September, 1999, I
     participated in numerous large and small group meetings of tribal leaders to prepare for and
     actually conduct the negotiations, frequently interacting with tribal representatives from all over
     California.

            In September, 1999, the UTCSC and two small groups of Tribes also trying to negotiate
    Compacts came together in a series of meetings that culminated in what became known as the
    “1999 Compact” that would take effect only if California’s voters approved an amendment to the
    State Constitution that would authorize the Governor to negotiate and the Legislature to ratif~’
    compacts allowing Tribes to operate slot machines, banked and percentage card games and
    lottery games and devices on their Indian lands. The Legislature put Proposition 1A on the
    March, 2000 ballot, the voters approved it by a wide margin, and the Compacts took effect on or
    about May 16, 2000 upon publication in the Federal Register of a notice that they had been
    approved by the Department of the Interior.

            The 1999 Compact put some serious constraints on the ability of Tribes with large
    potential markets to respond to market demand. Each Tribe was to be limited to no more than
    2,000 Gaming Devices, and in order to add Gaming Devices to those already in operation on
    September 1, 1999 (or more than 350 if a Tribe had fewer than 350 Gaming Devices on that
    date), a Tribe would have to draw licenses from a statewide pooi of licenses that the State
    dictated contained fewer licenses than the Compacts actually had created. In Cachil Dehe Band
    of Wintun Indians v. Cal ~fornia, I obtained a ruling from the Ninth Circuit Court of Appeals that
    the State had both improperly limited the size of the statewide license pool and prevented Colusa
    from drawing as many licenses as it was entitled to receive.

             Several of my clients’ markets would support more than 2,000 Gaming Devices, so
    between 2004 and 2006, I represented several them in efforts to negotiate Compact amendments
    that would enable those Tribes to expand their gaming operations beyond what was allowed in
    their original 1999 Compacts. Two of my clients ultimately succeeded in obtaining Compact
    amendments that were ratified by the Legislature in 2007, and survived a referendum on the
    ratification of those Compacts in February, 2008.

            For one of those clients, I negotiated a new Compact that took effect in February, 2018.
    It was not affirmatively approved by DOl, but was considered approved to the extent consistent
    with IGRA. In fact, virtually none of the Brown and Newsom Administration compacts have




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    been affirmatively approved, due to DOl’s concerns about inclusion of provisions that are not
    proper subjects of negotiation under IGRA.

             Beginning in 2015, I served as a principal negotiator for the 1999 Compact Tribes
    Steering Committee (“CTSC”), a coalition of Tribes with 1999 Compacts seeking to negotiate
    new Compacts to replace the existing Compacts when those Compacts expire. Four of my CTSC
    clients, having become convinced that the State would not recede from its insistence on
    including in new Compacts provisions that are not proper subjects of negotiation under IGRA,
    recently withdrew from the CTSC, and are contemplating suing the State for failing to negotiate
    in good faith.

            For several years in 2015-20 17, I represented one of my tribal clients in organizing a
    broad coalition of California Tribes seeking enactment of California legislation that would
    authorize intrastate on-line poker in California, and negotiated contracts with various Internet
    gaming service providers. In the course of that project, I interacted with the leaders of Tribes
    throughout California, large and small, gaming and non-gaming.

            My current gaming-related clients include the Morongo Band of Mission Indians; the
    Soboba Band of Luiseflo Indians; the Cahuilla Band of Indians; the Cachil Dehe Band of Wintun
    Indians of the Colusa Indian Community; the Bear River Band of Rohnerville Rancheria; and the
    Karuk Tribe of California. My law firm also provides legal advice and representation on Indian
    Child Welfare Act matters to a number of Tribes in California and occasionally to Tribes from
    other states with citizens in California, represents a tribal health clinic in northeastern California,
    and provides advice to various of our clients’ gaming regulatory agencies.

            At various times during the course of my career, I have provided advice and/or
    representation to the following California Tribes: Augustine, Bear River, Blue Lake, La Posta,
    Santa Ysabel, Ewiiaapaayp, Sycuan, Pala, Pechanga, Morongo, Cahuilla, Santa Rosa Tachi
    (Kings County), Santa Rosa (Riverside County), Table Mountain, Table Bluff, Big Sandy
    (Auberrry), Cold Springs, Picayune, Robinson, Guidiville, Graton, Soboba, Quechan, Yurok
    (through the Yurok Transition Team, as well as defending individual Yurok citizens exercising
    their federally-reserved right to fish in the Kiamath River free of State regulation), Smith River,
    Upper Lake, Cloverdale, Sherwood Valley, Susanville, Chemehuevi, Torres Martinez, Chicken
    Ranch, lone and Karuk. I also have represented several Tribes outside California in connection
    with Compact negotiations, gaming management contracts, other economic development
    projects, land rights, and ICWA cases, including the Lummi Nation in Washington, the Cocopah
    Tribe in Arizona, and the Little Traverse Bay Bands of Odawa in Michigan.

            I last testified as an expert by deposition in 2009. I have not testified as an expert at trial.
    I have testified at trial as a percipient witness.

            I am being paid $585 per hour, billed in tenths of hours, plus reimbursement for actual
    out-of-pocket expenses, in connection with my services as an expert witness in this action.




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             In preparing my report, I have reviewed pleadings, various exhibits and district court
    orders in this action, as well as relevant court opinions and other documents I considered to be of
    use in formulating my report. I also have relied upon my own experience as a practicing attorney
    represented Indian tribes and tribal organizations since January, 1971 ,dealing with both Tribal
    leaders and their citizens, other actual and would-be tribal attorneys, and elected State and local
    officials and their staffs, including Gov. George Deukmejian, Gov. Pete Wilson, Gov. Gray
    Davis, Gov. Arnold Schwarzenegger, Gov. Jerry Brown, and now Gov. Gavin Newsom, as well
    as various members of the California Legislature and their staffs, and the members of several
    County boards of supervisors. My experience includes dealing with attorney Rob Rosette, both
    when he was affiliated with the law firm formerly known as Monteau and Peebles (which later
    became Monteau, Fredericks and Peebles), and in his own firm.

            I have been asked to opine on my experience in dealing with a broad spectrum of Tribes
    and tribal leaders, including in negotiating class III gaming Compacts; why tribal leaders and
    tribal members may be susceptible to undue influence and misrepresentations by lawyers in the
    field of Indian law, and examples of such; and related subjects.

    II.    Why Tribal Leaders and Tribal Members, Particularly Those in California, May Be
           Susceptible to Undue Influence and Misrepresentations by Lawyers in the Field of
           Indian Law.

             From the first contacts between California’s Native peoples and Spanish and Mexican
    invaders, continuing through the genocidal era that followed the discovery of gold in the mid-
    1 800s, the allotment era beginning in the 1 890s, and the termination era that followed World
    War II, California’s Native peoples have endured an almost endless effort to either physically
    eradicate their presence or force their assimilation into an unwelcoming larger society.

             California was the first state in which Indian reservations were created after the state was
    admitted to the Union, and although 18 treaties were executed between treaty commissioners and
    the purported representatives of Tribes in various regions of the State, at California’s urging the
    treaties never were ratified; rather, they were kept hidden until 1905, by which time, many
    California tribes that had not been eradicated by the Mission system or by gold seekers had been
    dispossessed, effectively fragmenting California’s surviving Native population.

             The effect of all of these policies and actions was to reduce most of California’s Native
    peoples to abject poverty, without means or resources including lawyers with which to mount
                                                            —                    —


    legal challenge the laws and policies responsible for their plight. This began to change in the
    mid- to late-i 960s, with the advent of the federal War on Poverty and the establishment of
    federally-funded legal services programs under the Office of Economic Opportunity (“OEO”)
    (later to become the Legal Services Corporation). Under the OEO, national and regional projects
    focused on law reform on a macro level, while local legal services offices, located in the low
    income communities they were to serve, focused primarily on local legal issues as well as
    individual client service.




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            While OEO-funded legal services programs were established on several large
    Reservations in other states fairly early in the War on Poverty, the first OEO-funded legal
    services project established to specifically address problems unique to California’s Native people
    was not established until 1967, when California Indian Legal Services (“CILS11) was spun off
    from the existing California Rural Legal Assistance program. From its office in Santa Rosa,
    CILS began to deal with the problems caused for California Rancherias by the disastrous federal
    termination policy under the California Rancheria Act of 1958, as amended in 1964.

            Prior to the establishment of CILS, and with the occasional exception of lawyers working
    pro bono, court-appointed criminal defense, or representing allottees on the Agua Caliente
    Reservation, the first exposure most California Native people had to lawyers was indirect,
    through the pursuit of the claims of various groups of California Indians before the Indian
    Claims Commission (“ICC”). Rather than continually enacting a series of special jurisdictional
    acts for specific tribal claims, Congress had established the ICC to provide a forum in which
    Tribes or defined groups of Indian people could seek compensation from thç United States for
    the pre-1946 loss of tribal rights or property, including from “less than fair and honorable
    dealing,” and a small number of lawyers in California and Washington, D.C. represented various
    groupings of California Indians before the ICC.2 Those claims were settled in 1964, but payment
    of approximately $650 to every California Indian who could trace his/her ancestry to a California
    Indian who was alive in California in 1852 was delayed until the early 1970s.3

            CILS established offices in Eureka, Escondido, Bishop and Ukiah (in addition to the
    program’s main office in Berkeley/Oakland), and each of those offices focused primarily on
    matters specific to each locality, but also occasionally addressed issues of statewide or even
    national concern. The lawyers in these offices lived in or near the Tribes and individuals they
    served, did not charge for their services, and worked to strengthen, and when possible, restore
    not only tribal status and governmental structures, but also the lands and jurisdiction that had
    been taken from them, and the individual Indian status lost in termination. Moreover, the CILS
    governing board consisted of prominent California Indians and the few Indian people then
    practicing law in California. These factors combined to create a strong bond of trust between the
    communities and individuals served by CILS, and the lawyers working for the program. The
    Quechan Tribe was served by the CILS office in Escondido.

            Many former CILS lawyers remain active in Indian law today, and that bond of trust
    generally has carried over to them, and to an extent, to other lawyers now working in this area of
    the law. CILS also sponsored the creation of the Native American Rights Fund, a national law
    firm devoted exclusively to advancing the rights and status of Tribes and tribal organizations on


             2   Through an earlier special jurisdictional act, Congress designated California’s Attorney General to
    represent “the Indians of California” to seek compensation for the lands encompassed in the 18 treaties that never
    were ratified.

             3              .   .     .              .                         .
                After the Pit River Tribe voted to reject that settlement, the Tribes lawyer worked with the Department
    of the Interior to hold a second election, in which the settlement was approved. A challenge to the validity of the
    settlement, in which I participated, was rejected. Andrade v. US.




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    the state and federal levels, which further enhanced the reputation of lawyers practicing Indian
    law as generally trustworthy.

            Before the advent of tribal government gaming, CILS and former CILS lawyers were
    pretty much the only lawyers with whom California tribal leaders and individual Indians had
    regular contact. Tribes with successful gaming enterprises lost their financial eligibility for free
    service from CILS, and once the Revenue Sharing Trust Fund established under the 1999
    Compacts was implemented, no recognized California Tribe was eligible for free service, but
    many California Tribes continue to use CILS on a fee-for-service basis.

            The growth in tribal economic resources soon attracted the attention of private law firms
    from both within and without California. These firms previously had not been interested in
    servicing California Tribes. Monteau & Peebles, later to become Monteau, Fredericks & Peebles
    (“MFP”), was one of the non-California firms that came into the State to solicit tribal clients,
    touting themselves as an Indian-owned firm with tribal clients in many different states. Harold
    Monteau had been the Chairman of the National Indian Gaming Commission, and Tom
    Fredericks had been Associate Solicitor for Indian Affairs. Rob Rosette was associated with
    MFP before he founded his own firm.

           When MFP came to California, many lawyers already representing California Tribes had
   relationships with State legislators and other elected officials. To be able to tout its ability to get
   things done with the State government, MFP needed to build such relationships of their own.
   One of the ways in which I believe MFP did so was to curry favor with State officials,
   particularly in the Governor’s Office and the California Gambling Control Commission, by
   sharing with them information about internal tribal strategy deliberations.

            Because many of the Tribes that had achieved early success with gaming already had
   legal counsel, MFP generally targeted Tribes with limited or no gaming, but also some Tribes
   that already had gaming and lawyers. In several instances of which I am personally aware,
   MFP’s retention by Tribes was preceded by the Tribe’s hiring of a specific non-lawyer as tribal
   administrator who would urge the ouster of the Tribe’s existing legal counsel and replacement by
   MFP. This occurred sequentially at the Santa Rosa Tachi Tribe in Kings County, then at the
   Picayune Chukchansi Rancheria in Madera County, then at the Coyote Valley Rancheria in
   Mendocino County, and then at the Alturas Rancheria in Modoc County. Without using the
   same non-lawyer, MFP also solicited the Death Valley Timbi-Sha Shoshone Tribe and the Buena
   Vista Rancheria. At least at the Picayune Chukchansi, Buena Vista, and Redwood Valley
   Rancherias, MFP also brought in the same gaming management company, offering the tribal
   client what seemed to be a complete package, presumably without fully explaining the conflicts
   of interest inherent in such arrangements.

            Another way that IvIFP, and later Rosette & Associates,4 cultivated tribal clients has been
   to identify individuals or factions within a Tribe, and work with them to overthrow existing tribal
   officials, sometimes violently; the insurgents then would hire MFP or Rosette & Associates as

             A fairly small number of other attorneys, Indian and non-Indian, have employed similar tactics.




                                                                                                                Ex 2
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    the Trib&s new attorneys. That is exactly what happened at Picayune Chukchansi, and I am
    informed that this also happened at Paskenta Rancherias. At Timbisha Shoshone, the insurgents,
    backed by their preferred gaming developer, paid members to attend a meeting at which to vote
    to recall the incumbent Tribal Council Chairman.

            The most common characteristics of the Tribes targeted by MFP and Rosette &
    Associates, at least in California, have been location in rural areas of the State, leadership’s
    limited experience in business or other economic affairs, generally a small tribal land base, little
    or no experience with lawyers (except through CILS), and generally low levels of higher
    education among both leadership and general membership.

           A.    My Experience in Dealing with a Broad Spectrum of Tribes and Tribal
           Leaders in Negotiating Class III Gaming Compacts.

            As noted above, my involvement in Compact negotiations in California began in 1989-
     1990, when I negotiated a simulcast wagering (“OTB”) Compact on behalf of the Sycuan Band
    of the Kumeyaay Nation. Shortly thereafter, I became involved in broader-scope Compact
    negotiations when a group of 17 Tribes, including several of my clients, began negotiating with
    the Wilson Administration. These negotiations broke down when the parties could not agree on
    the scope of class III gaming for which the State is obligated to negotiate under IGRA, resulting
    in the Rumsey v. Wilson litigation that ensued over the course of the next several years.

            In 1994, the U.S. Attorneys in California began pressuring Tribes that were offering
    electronic forms of what were contended to be aids to bingo, and thus class II, as well as certain
    card games that the Tribes contended were not house banked, and thus also class II, to stop their
    gaming activities until Compacts were in place. Subsequently, the State agreed to resume the
    negotiations that had been interrupted, but only with a Tribe not then engaged in any form of
    gaming; the Tribes then involved in gaming nominated the Pala Band of Mission Indians to be at
    the negotiating table, but to ensure that Pala’s lawyer would not cut a deal unacceptable to the
    rest of California Tribes, other tribal attorneys, including me, were designated to represent the
    negotiating Tribe, with the understanding that all interested Tribes would be kept apprised of,
    and have input into, the negotiations. I eventually withdrew from the negotiations when the
    State and Pala’s principal lawyer prohibited me from keeping my other tribal clients informed
    about the negotiations.

           When Governor Wilson announced in late 1997 that he had agreed to a Compact with the
    Pala Band, most other California Tribes were horrified by the Compact’s terms. More than 80
    California Tribes joined together as the United Tribes Compact Steering Committee to put on the
    November, 1998 general election ballot an initiative that would have offered a model Compact to
    every California Tribe with gaming-eligible land. Jerry Levine and I were the principal authors
    of what became Proposition 5, which the UTCSC qualified for the ballot in record time.

            My tribal clients have varied widely in terms of enrolled membership, trust land base,
    history of functioning as governments exercising sovereignty, levels of education among elected
    leaders and tribal citizens, and degree of cultural assimilation into surrounding non-Indian




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    communities. My work on reversing the legal and other impacts of the failed federal policy of
    terminating the trust relationship between the United States and California Tribes involved
    restoring the federal status of communities and individuals that had lost their tribal status; when
    my work with those communities began, they often were not even organized as Tribes, and the
    individuals remaining on the original tribal land bases often faced dispossession due to unpaid
    property taxes or creditors’ claims.

             Since 2015, I have represented four Tribes with 1999 Compacts as part of the Compact
    Tribes Steering Committee (“CTSC”), negotiating with the State of California for new Compacts
    to replace the Compacts that are due to expire by June 30, 2022. The CTSC has been seeking
    replacement Compacts that are at least as favorable to the Tribes as their 1999 Compacts, but the
    State has insisted on including in new Compacts numerous provisions that the CTSC Tribes
    contend are not proper subjects of negotiation under IGRA. Meanwhile, other California Tribes
    have entered into new Compacts containing many of those same provisions, reinforcing the
    State’s resistance to making concessions to the CTSC Tribes. Many of the Tribes that originally
    were part of the CTSC later dropped out of the group for their own reasons, and entered into new
    Compacts containing many of the provisions to which the CTSC Tribes have objected.

            In my experience, one of the keys to a successful negotiation, particularly if the parties to
    the negotiation have very different ideas of what would be an acceptable result, is the
    establishment of a relationship of trust between legal counsel for the parties. This can take time,
    but over the course of the negotiation at least the lawyers will have a common understanding of
    the goals of their respective principals, will have a shared recollection of the history of the
    negotiations, and will be better able to inform their respective clients of the degree to which their
    respective clients’ goals are likely to be attainable. In my experience, particularly when
    negotiations have reached an advanced stage, as appears to have occurred during Williams &
    Cochrane’s representation of Quechan in its compact negotiations, changing the Tribe’s legal
    counsel would not be advantageous to the Tribe, unless the Tribe was prepared to abandon
    whatever concessions had been obtained from the State. In my experience, such changes in legal
    counsel at such a late stage of negotiations would be highly unusual, and not recommended.

    III.   The Likely Perceived Impact on Tribal Leaders of the Advertising Statement at
           Issue in Williams & Cochrane’s Lanham Act Claim Against the Rosette Defendants.

             In my experience, whether for cultural reasons, lack of business experience and/or
    education, and/or infrequent interaction with lawyers, and being people of great persona integrity
    themselves, tribal leaders tend to take lawyers’ representations of their ability and
    accomplishments at face value. If, for example, a lawyer claims to have been responsible for a
    particular court decision, few tribal leaders would have the wherewithal to look up the decision
    to verify the claimed result, the extent to which the lawyer actually had personal responsibility
    for that result, and the aftermath of that result. This is not unique to Tribes, of course; despite
    numerous popular culture jokes about lawyers, in my experience most people with limited
    education, experience and resources tend to take lawyers’ representations about their abilities and
    accomplishments at face value, lacking the means or knowledge with which to test the accuracy
    of representations made to them. For example, without knowing how to perform legal research,




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    someone would have difficulty looking up a reported court decision, and even more difficulty
    looking up an unreported decision.

            Rosette & Associates’ firm website, a screenshot of which was attached to the Complaint
    in this action as Exhibit 6, and which I last examined on July 8, 2020 contains several examples
    of such claims that, on the surface, are very impressive, but if researched further, become
    considerably less so. The description of Mr. Rosette’s accomplishment includes the following:

                   Mr. Rosette has been involved with Internet gaming issues
                   pursuant to the IGRA since 1997. He has represented Indian tribes
                   with the successful launch of internet gaming web sites for Class II
                   bingo and poker.

                  Mr. Rosette’s litigation experience includes Indian tribal cases
                  involving public interest and civil rights. For example, Mr. Rosette
                  successfully resolved a dispute between the Havasupai Tribe and
                  the State of Arizona in a case whereby the Tribe alleged the illegal
                  taking of its blood and genetic material. Ivir. Rosette conducted the
                  first arbitration regarding off-reservation mitigation pursuant to a
                  gaming compact and received a victorious award against the
                  County of San Diego on behalf of the La Posta Tribe of Mission
                  Indians. Mr. Rosette has also successfully restored recognition of
                  tribal governments against United States’ attempts to dissolve
                  them, including the California Valley Miwok Tribe, the Lower
                  Lake Rancheria, Koi Nation, and the Wilton Rancheria.

          Before it was removed from the firm’s website, Mr. Rosette also claimed to have saved
   the Pauma Band “over one hundred million dollars” by “successfully litigat{ing] a case”
   concerning the validity of that Tribe’s 2004 Compact Amendment.

           As to Mr. Rosette’s claim that he personally saved the Pauma Band over one hundred
   million dollars, the Pauma Band was able to rescind its 2004 Compact Amendment as a result of
   the decision in Cachil Dehe Band of Wintun Indians of the Colusa Indian Community v.
   Schwarzenegger that the State had erroneously determined that there were fewer Gaming Device
   licenses available than the 1999 Compacts actually created. The Pauma case was litigated
   primarily by Kevin Cochrane and Cheryl Williams. I know that because, among other things,
   Kevin Cochrane reached out to me for copies of transcripts of the negotiations leading up to the
   1999 Compact, and the reported decision of the 9th Circuit does not mention Mr. Rosette.

           As to Mr. Rosette’s claim that he successfully launched Internet bingo and poker
   websites, the fact is that the website of a California client for which he attempted to launch such
   sites almost immediately was shut down by federal and state authorities.

          As to Mr. Rosette’s claim that he successfully resolved a dispute between the State of
   Arizona and the Havasupai Tribe, the attorney who actually won the case for the Tribe on appeal




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    has informed me that Mr. Rosette argued the case in the trial court and lost, and did not brief or
    argue the case on appeal.

             As to Mr. Rosette’s claim that he succeeded in representing a tribal client in an arbitration
    with San Diego County, the claim is true as far as it goes. What the claim does not address is
    that his client had agreed to a much less favorable gaming compact than other California Tribes
    had obtained in 1999, and that the Tribe’s own proposal that the arbitrator accepted turned out to
    be more costly than the Tribe could afford. The Tribe’s gaming operation closed, and the Tribe
    later tried and failed to obtain protection from a judgment in favor of the County under the
    bankruptcy laws.

    IV.     Quechan’s Latest Gaming Compact.

             Any Tribe with gaming-eligible lands that is willing to accept whatever Compact a State
    may offer likely can obtain such a Compact quickly, with little effort or expenditure of time and
    resources. Obtaining a Compact with terms that are consistent with IGRA and not unduly
    invasive of tribal sovereign prerogatives is much more difficult, even in a State such as
    California, which has waived its 11th Amendment sovereign immunity to suit under IGRA for
    failing to negotiate in good faith. The same is true when a Tribe attempts to assert an
    interpretation of a Compact that is contrary to what the State has determined the Compact means.

           A comparison between the Compact that Quechan actually executed in 2017, for which
    Mr. Rosette claims credit, and the last draft of the Compact that Williams & Cochrane were
    negotiating before being replaced by Rosette & Associates, LLP, demonstrates that the vast
    majority of the provisions are the same or substantially similar. However, the 2017 Compact
    appears to contain at least two notable and material differences that are considerably less
    favorable to Quechan than the Williams & Cochrane draft.

           The first of these differences is that Section 4.8 of the 2017 Compact requires Quechan to
    repay $2 Million of the $4 Million in arrearages that had accrued under its former Compact. The
    Williams & Cochrane draft would have completely replaced the former Compact, thus
    eliminating the need to make any such repayment, saving the Tribe $4 Million.

             The second of these differences is that the 2017 Compact requires that if Quechan
    operates more than 1,200 Gaming Devices at any time in a given quarter, Quechan must pay 6%
    of its net win from all gaming devices in excess of 350 for that quarter into the Revenue Sharing
    Trust Fund, but that up to 80% of such payments can be offset by expenditures for a variety of
    other defined purposes, some of which clearly constitute taxes. The Tribe must submit its
    proposed expenditures to the State in advance, and the State has the right to disapprove particular
    expenditures and review expenditures after the fact.

           The Williams & Cochrane draft establishes a sliding scale of RSTF payments based on
    the 1999 Compact fee schedule, but more graduated, and, most significantly, applicable only to
    Gaming Devices in excess of 1,200. Thus, even if the Tribe were to operate more than 1,200




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    Gaming Devices, the Tribe would not have been mandated to spend 6% of the net win from
    gaming devices in excess of 350.

            While the allowance for credits may seem favorable, in fact this forces Quechan to spend
    6% of the net win from Gaming Devices in excess of 350 (assuming Quechan operates more than
    1,200 devices in a quarter) for the full term of the Compact, whether in the form of payments to
    the RSTF, or for various other purposes, some of which are unrelated to gaming or the Tribe
    itself. This deprives the Tribe of discretion about how its revenues are to be spent, or not spent.
    In my opinion, this constitutes an impermissible tax under IGRA, for which Quechan did not
    receive meaningful consideration in the form of substantial concessions on matters about which
    the State was not otherwise obligated to negotiate in good faith. Relief from a financial burden
    that the State had no right to impose in the first place was not meaningful consideration. In my
    opinion, the Williams & Cochrane draft Compact would have been more advantageous to
    Quechan than the compact that ultimately was executed.

                                                 Respec fully submitted,




                                           /     George Fh?man




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